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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

United States of America,                                        Crim. No. 03-298 (PAM)

                            Plaintiff,
v.                                                                               ORDER

Augustus Quintrell Light,

                       Defendant.
      __________________________________________________________

       Defendant Augustus Quintrell Light has filed two pro se Motions in this matter and

requests an in-person hearing. (Docket Nos. 268, 269.) At that hearing, the Court will also

resentence Defendant, as instructed by the Eighth Circuit Court of Appeals. (Docket

No. 263.) The Court will hold such a hearing on November 8, 2022, at 11:00 a.m. in

Courtroom 7D in the Warren E. Berger Federal Building and U.S. Courthouse in St. Paul,

Minnesota.

       Accordingly, IT IS HEREBY ORDERED that:

       1.     The Government shall file any response to Defendant’s Motions and any

              position on Defendant’s resentencing on or before September 23, 2022; and

       2.     Defendant shall file any reply on or before October 24, 2022.


Dated: Friday, September 16, 2022
                                                        s/ Paul A. Magnuson
                                                        Paul A. Magnuson
                                                        United States District Court Judge
